Case 2:24-cv-01608-WSS   Document 37-20   Filed 02/14/25   Page 1 of 4




                    Exhibit 16
      Case 2:24-cv-01608-WSS                 Document 37-20        Filed 02/14/25   Page 2 of 4




PITTSBURGH         News       Weather       Sports     Video   KDKA Shows                         33°




 LOCAL NEWS


Va. Man Arrested While Trying To Meet Girl, 14, For
Sex

         June 3, 2014 / 1:07 PM EDT / CBS Pittsburgh




PITTSBURGH (KDKA) – A Point Park University student has traded his college
classroom for a jail cell after traveling to Pittsburgh to allegedly have sex with a
14-year-old girl.

According to Attorney General Kathleen Kane's office, Joshua Munoz, 23, of
Reston, Va., was arrested on Monday in Pittsburgh.

Munoz allegedly met the girl through a teen chat website on May 31. The two
began exchanging private and text messages, where meeting up to engage in
sexual activity was discussed.

Undercover agents, posing as the girl, arranged a meeting in Pittsburgh on
Monday.
       Case 2:24-cv-01608-WSS   Document 37-20    Filed 02/14/25   Page 3 of 4

Watch CBS News                                                                   See More


    00:00                                                                02:00




In one conversation, the agent posing as the girl asks if he's bringing condoms,
Munoz then says, "Yes I am, LOL, don't worry."

When he arrived at the predetermined in East Deer, he was taken into custody.

Munoz is currently being held in the Allegheny County Jail. He is facing a long
list of charges including, unlawful contact with a minor, criminal attempt
indecent assault and criminal use of a communication facility.

Munoz is a classical dance major at Point Park.

The Attorney General's Child Predator Unit is on the front lines of a digital and
cyber battleground.

Deputy Attorney General Anthony Marmo told KDKA's Kym Gable, because of
the resources and manpower allocated to the program, arrests have increased
six-fold since 2012. And Western Pennsylvania law enforcement is responsible
for about half of all arrest in the entire state.

"There just happens to be a number of folks trying to solicit children online
and we've been finding them," said Marmo. "At this point it has been at an
alarming rate, there's no question. That's why we're asking parents to be
vigilant. Try to check up on what social media apps and programs they're using
because you really don't know who they're talking to."

RELATED LINKS

More Local News
Join The Conversation On The KDKA Facebook Page
         Case 2:24-cv-01608-WSS        Document 37-20           Filed 02/14/25    Page 4 of 4

Stay Up To Date, Follow KDKA On Twitter


More from CBS News
2 Fayette County teens charged with posing as girl to depict man as "pedophile,"
police say


Fayette County man accused of making falls calls to police



Retired Pittsburgh Police officer arrested, accused of shooting grandson during
argument


Elderly woman testifies in preliminary hearing after allegedly being sexually assaulted
by a homeless man




© 2014 CBS Broadcasting Inc. All Rights Reserved.




                              ©2025 CBS Broadcasting Inc. All Rights Reserved.


Terms of Use                                            About Us
Privacy Policy                                          Advertise
Cookie Details                                          CBS Television Jobs
Contact KDKA                                            Public File for KDKA-TV
News                                                    Public File for WPKD-TV / KDKA+
Sports                                                  Public Inspection File Help
Weather                                                 FCC Applications
Program Guide                                           EEO Report
Sitemap
